      Case 3:11-cr-05570-WQH         Document 23      Filed 02/21/12      PageID.66          Page 1 of 1


                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
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 UNITED STATES OF AMERICA,
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                                                                                                            (,';{)URI
                                                     CASE NO.

                             Plaintiff,                                            "IV'                  ~i'utl.
                   vs.                               JUDGMENT OF DISMISSAL
 JOSE SAUL ESPINOZA (2),

                             Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

       an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

       the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged                   the Indictment:

21 :952 and 960; 18:2 - Importation of Methamphetamine and Cocaine; Aiding and Abetting




              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: February 21, 2012
